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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

    UNITED STATES OF AMERICA,                          Case No. 23-80101-CR
                                                       CANNON/REINHART
    vs.

    DONALD J. TRUMP,
    WALTINE NAUTA, and
    CARLOS DE OLIVEIRA,

                Defendants.
    _____________________________________

     PRESIDENT DONALD J. TRUMP’S MOTION FOR ACCESS TO CIPA § 4 FILINGS

          President Donald J. Trump respectfully submits this motion for access to the December 6,

   2023 filings relating to him, pursuant to CIPA § 4, by the Special Counsel’s Office. See ECF No.

   236.

          A motion pursuant to CIPA § 4 is a critical juncture where the government asks the Court

   to endorse the withholding of discoverable material by determining, inter alia, whether the

   material is “relevant or helpful” to the defense. In effect, prosecutors filing a motion pursuant to

   this provision are seeking permission to withhold Brady material. These motions require the Court

   to stand in a defendant’s shoes, predict defenses the defendant has not yet presented and is entitled

   to develop and modify until the case is submitted to the jury for deliberations, and protect important

   defense rights to exculpatory information and impeachment material.

          Owing in part to these complexities, the Court has already noted that “special

   circumstances” may justify requiring that CIPA § 4 motions be litigated in an adversarial setting.

   ECF No. 215 at 7. This case presents such circumstances. For four years, President Trump acted

   on a public mandate to access the nation’s most sensitive secrets for the benefit of the country. He

   was the central classification authority in the United States. Today, he is the leading candidate to

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   assume that role again in 2025, despite politically motivated efforts by the Biden Administration

   to remove him from the election—including this case.

          The Special Counsel’s Office has produced to President Trump and his counsel a large

   volume of documents and information that the Office regards as “highly sensitive.” Although we

   dispute the Office’s assessment of those materials, it is inconceivable that the concededly

   discoverable information the Office now seeks to withhold from President Trump and his counsel

   through ex parte proceedings is any more sensitive. Further, in light of the Office’s record of

   misrepresentations and abuses of sealing and ex parte processes in this case, the Court cannot

   simply take the prosecutors’ word for it.

          “[N]ational-security concerns must not become a talisman used to ward off inconvenient

   claims.” Ziglar v. Abbasi, 582 U.S. 120, 143 (2017). Cleared counsel for President Trump seek

   attorneys’-eyes-only access to these filings so that we can challenge the Office’s assertions in

   adversarial proceedings that will facilitate more reliable decision-making in the application of the

   “relevant and helpful” standard under CIPA § 4. In addition, the Court should require the Special

   Counsel’s Office to file redacted versions of its CIPA § 4 submissions on the public docket so that

   the public and the press can access the unclassified portions of these materials.

                                           BACKGROUND

          In a June 23, 2023 filing, the Special Counsel’s Office agreed to “disclose promptly all

   witness statements and associated memorialization of those statements, even if they would not be

   deemed discoverable under 18 U.S.C. § 3500.” ECF No. 30 at 2. On July 18, 2023, the Special

   Counsel’s Office told the Court that “all” discovery would be available on “day one.” 7/18/23 Tr.

   62. It is now clear that these were misrepresentations, which the Office still has not addressed and




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   were intended to unfairly prejudice President Trump and his co-defendants by setting an

   unconstitutionally rushed trial date.

          During a hearing on July 18, 2023, the Special Counsel’s Office estimated that any CIPA

   § 4 litigation would be “fairly minimal.” 7/18/23 Tr. 13. At the sealed hearing on September 12,

   the Office explained that some of the documents at issue in the anticipated CIPA § 4 motion were

   a subset of a larger category of documents that the Office produced to President Trump. 9/12/23

   Tr. 9-10; see also id. at 11. The Office’s acknowledgment that similar types of materials have

   already been produced undercuts its position regarding the need for ex parte proceedings and on

   the merits under CIPA § 4.

          Following a scheduling hearing on November 1, 2023, the Court directed the Special

   Counsel’s Office to file its CIPA § 4 motion by December 4. ECF No. 215 at 8. On November

   22, the Office filed an ex parte submission, under seal, which it styled as an “Ex Parte Motion to

   Exceed Page Limits.” ECF Nos. 222, 223 (the “Ex Parte Motion”). The Office claimed that

   neither President Trump nor the public were entitled to be “apprised of the contents of the filing”

   because, in the prosecution’s view, the Ex Parte Motion “provide[d] sensitive information about

   the contents of the CIPA Section 4 motion.” ECF No. 222 ¶ 1. The Office expressed baseless

   concern about “even disclosing the number of categories of classified information that the

   Government seeks to delete form discovery,” and suggested that “the contours and extent of the

   Government’s CIPA Section 4 motion” are somehow classified or sensitive. Id.

          Those “contours,” which are now public, are anything but sensitive. Rather, the Special

   Counsel’s Office simply notified the Court that its “motion involves four categories of especially

   sensitive classified information,” and that the Office planned to seek permission to “delete from

   or substitute in discovery certain specific portions of the classified information to protect



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   intelligence equities, particularly the sources and methods involved in collecting the subject

   intelligence.” ECF No. 223 at 1-2.

          On November 28, 2023, the Court denied the motion. ECF No. 224. The Court rejected

   the proffered reasons for proceeding ex parte in connection with such a basic application: (1) “the

   instant procedural motions seeking additional pages are not Section 4 motions; nor do they contain

   or otherwise reveal classified information,” and (2) the “bare reference” to the “‘contours’” of

   “‘especially sensitive classified information,’” “without more, is not a basis to deviate from the

   presumption against ex parte filings in our adversarial system of justice.” Id. at 2.

          Following the Court’s ruling, on November 28, 2023, the Special Counsel’s Office

   conferred with defense counsel regarding the request to file an oversized brief. Defense counsel

   consented to the application, but we were then surprised when the Office submitted the motion

   under seal without any apparent basis. See ECF No. 225. The Court subsequently granted the

   defendants’ motion to unseal these submissions. ECF Nos. 227, 228. On December 1, the Office

   asserted that it “sought to file its motion ex parte because it was ancillary to an ex parte

   proceeding,” but consented to filing all of the materials publicly. ECF No. 230 at 2. “Ancillary”

   or otherwise, the Court had not authorized ex parte proceedings relating to the CIPA § 4 motion

   by the Special Counsel’s Office, which is the very issue now being briefed.

                                              DISCUSSION

          Under the circumstances of this case, the Court should permit President Trump’s cleared

   counsel to have attorneys’-eyes-only access to the CIPA § 4 submissions by the Special Counsel’s

   Office in order to facilitate adversarial proceedings regarding critical issues relating to whether the

   Office can withhold discoverable information from the defense. The Court should also require the




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   Office to file public, redacted versions of the CIPA § 4 submissions that reveal the unclassified

   portions of the documents.

          Criminal matters include presumptions against ex parte proceedings and in favor of public

   access. Courts have applied these presumptions to reject ex parte proceedings under CIPA § 4.

   Given the security clearances that have been extended to President Trump and counsel, and the

   volume of classified discovery produced to date, there is no case-specific reason for ex parte

   proceedings. The Court should be skeptical of boilerplate invocations of vague national security

   concerns and citations to factually distinguishable cases by the Special Counsel’s Office,

   particularly in light of the post-CIPA development of bodies of law under the Freedom of

   Information Act (“FOIA”), in habeas proceedings, and in motions to suppress Foreign Intelligence

   Surveillance Act (“FISA”) evidence, where parties are granted greater access to filings that

   summarize sensitive and classified information.            Finally, in light of the record of

   misrepresentations and procedural abuses by the Office, the Court should not trust the prosecution

   to be fair stewards of an ex parte process in this complicated case with a factually intricate record

   and a huge volume of discovery.

     I.   The Presumption Against Ex Parte Proceedings Is Entitled to Great Weight

          The Court has already observed that “‘[e]x parte communications generally are disfavored

   because they conflict with a fundamental precept of our system of justice: a fair hearing requires

   ‘a reasonable opportunity to know the claims of the opposing party and to meet them.’” ECF No.

   224 at 1 (quoting In re Paradyne Corp., 803 F.2d 604, 612 (11th Cir. 1986)); accord United States

   v. Napue, 834 F.2d 1311, 1318 (7th Cir. 1987) (“[T]he district court in exercising its discretion

   must bear in mind that ex parte communications are disfavored. They should be avoided whenever

   possible and, even when they are appropriate, their scope should be kept to a minimum.”).



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             Nor is it realistic to assume that the trial court’s judgment as to the utility of material for
             impeachment or other legitimate purposes, however conscientiously made, would exhaust
             the possibilities. In our adversary system, it is enough for judges to judge. The
             determination of what may be useful to the defense can properly and effectively be made
             only by an advocate.

   Dennis v. United States, 384 U.S. 855, 874-75 (1966). “Common sense tells us that secret

   decisions based on only one side of the story will prove inaccurate more often than those made

   after hearing from both sides.” Kaley v. United States, 571 U.S. 320, 355 (2014) (Roberts, C.J.,

   dissenting). Thus, ex parte communications “create an obvious potential for abuse,” In re Colony

   Square, 819 F.2d 272, 276 (11th Cir. 1987), which arises from the “general concern that the

   Government’s information will be less reliable than if it is disclosed to the Defendant,” United

   States v. Belfast, 2007 WL 9705938, at *2 (S.D. Fla. 2007).

    II.      Courts Have Rejected Ex Parte Proceedings Under CIPA § 4

             At least three courts have denied requests by prosecutors to proceed ex parte under CIPA

   § 4. The Court should proceed in a similar fashion here given the unique circumstances presented,

   including President Trump’s prior clearances and access to sensitive information, defense

   counsel’s clearances, the volume of classified discovery that counsel have already been entrusted

   to handle in an appropriate fashion, and the legal and fact-specific defenses arising from the

   unprecedented nature of this case—which must be brought to bear on all CIPA § 4 litigation in this

   matter.

             In United States v. Libby, the court explained that it was “disquieted by the prospect of

   having to make such a determination [under CIPA § 4] through ex parte proceedings, and trust[ed]

   that because defense counsel in this case have security clearances the need for such proceedings

   will be rare . . . .” 429 F. Supp. 2d 46, 48 (D.D.C. 2006). The court subsequently ordered that

   redacted versions of sealed, ex parte CIPA submissions be filed on the docket because unclassified



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   aspects of those materials “can be made available to the public.” See Order, United States v. Libby,

   No. 05 Cr. 394 (D.D.C. Nov. 15, 2006), ECF No. 189; see also Order, United States v. Libby, No.

   05 Cr. 394 (D.D.C. Feb. 21, 2006), ECF No. 38 (directing filing of redacted version of ex parte

   affidavit).

           The Special Counsel’s Office has cited United States v. Rezaq, 156 F.R.D. 514 (D.D.C.

   1994) in another context, but that case does not support its position regarding ex parte filings. See

   ECF No. 162 at 12, 17. In Rezaq, the court initially granted defense counsel access to a CIPA § 4

   filing. 156 F.R.D. at 526. Whereas the defendant was not permitted to access the submission

   because he was “an accused terrorist who never knew the sensitive information here at issue and

   never had a security clearance and is unlikely to get one,”

           [t]he government asks too much, however, when it expects this court to exclude defendant’s
           counsel from reviewing the CIPA statements. Defense counsel have received security
           clearances, and there is every reason to think that Mr. Rezaq’s counsel can be trusted with
           this sensitive information. In light of this, the very strong presumption against ex parte
           proceedings, even when statutorily permitted, urges that defense counsel be allowed to
           review the CIPA material.

   Id. at 527. In a motion for reconsideration, the prosecutors did not challenge defense counsel’s

   access to that particular CIPA § 4 motion. 899 F. Supp. 697, 706 (D.D.C. 1995). The court agreed

   to revisit its “absolute prohibition on ex parte submissions,” but only to the extent that the

   government was permitted “to file future motions for leave to file submissions ex parte, with the

   understanding that such motions must be served on the defendant and then litigated in an

   adversarial hearing before this court.” Id. at 707. This evening, the Special Counsel’s Office failed

   to do even that much—none of the defendants has been provided with the Office’s justification for

   filing the CIPA § 4 motions ex parte.

           In United States v. Stillwell, the DOJ’s Narcotic and Dangerous Drug Section (“NDDS”)

   convinced a district court that materials relating to its CIPA § 4 motion were too sensitive to be

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   disclosed to the defense (or the prosecutors). 986 F.3d 196, 199 (2d Cir. 2021). On appeal, the

   Second Circuit “vacated the District Court’s protective order and ordered those documents

   disclosed to both parties.” United States v. Hunter, 32 F.4th 22, 25 (2d Cir. 2022).

          The salient point is that prosecutors often contend—inaccurately, and perhaps based on

   improper pressure from Intelligence Community components with no regard for criminal

   defendants’ rights and the public’s access rights—that materials subject to a CIPA § 4 motion are

   too sensitive to be disclosed to the defense. Libby, Rezaq, and Stillwell are examples of courts

   rejecting that position without the resulting parade of horribles that the Special Counsel’s Office

   has suggested would follow disclosure of its CIPA § 4 motion.

   III.   The Court Need Not Permit Ex Parte Proceedings Under CIPA § 4

          CIPA § 4 states that the Court “may” allow the Office to “make a request for such

   authorization in the form of a written statement to be inspected by the court alone.” The Office

   has conceded, as it must, that this language is “permissive.” 11/01/23 Tr. 57. In contrast, when

   Congress intended to require ex parte procedures in the national security setting, it did so explicitly

   by using the term “shall.” 50 U.S.C. § 1806(f); see also ECF No. 202 at 4 (court rejecting “atextual

   interpretation” of CIPA).

          The Special Counsel’s Office has also conceded that, under United States v. Campa, “a

   Court has discretion,” which includes discretion to reject ex parte proceedings. 11/01/23 Tr. 57.

   In Campa, the 11th Circuit held that a district court “did not err by holding the [CIPA § 4] hearing

   ex parte.” 529 F.3d 980, 995 (11th Cir. 2008). Campa involved “[f]ive agents of the Cuban

   Directorate of Intelligence” who, unlike President Trump, never had a security clearance. Id. at

   987. Campa is distinguishable for the additional reason that the panel believed, in that case, that

   “[a]ny information that the government withholds under section four must be replaced with



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   redacted documents or substitutes.” Id. In this case, the Special Counsel’s Office has stated that

   at least part of its CIPA § 4 motion will seek to “delete,” entirely, otherwise-discoverable

   information. ECF No. 223 at 1; ECF No. 222 at 2; ECF No. 225 at 1.

          Campa relied on United States v. Mejia, which is similar. 448 F.3d 436, 459 (D.C. Cir.

   2006). The defendants in Mejia were Colombian drug traffickers who had spent a lot of time

   around cocaine labs, but no time in an American SCIF. See id. at 438. The CIPA § 4 motion in

   Mejia was strikingly similar to the CIPA § 4 motion filed in Stillwell; both were filed by NDDS

   lawyers without notice to the defense or the line prosecutors. See id. at 453 (noting that the “motion

   represented that none of the investigators or attorneys involved in the prosecution (or defense) of

   the case knew of the existence or content of the classified material, nor had they been made aware

   of the filing of the motion by the [NDDS]”). Whereas the Second Circuit in Stillwell was not

   satisfied that the classified information was properly withheld, the Mejia court only expressed

   comfort with the trial judge’s ex parte proceedings after it “examined the documents de novo” and

   concluded that “they are not helpful to the defense.” 448 F.3d at 457. Tellingly, and unlike in this

   case, the Mejia court was able to conduct that review with the benefit of a developed trial record

   that included the merits arguments the defendant had presented to the district court and the jury.

          Both Campa and Mejia relied on a Report from the House Permanent Select Committee on

   Intelligence. See H.R. Rep. No. 96-831, pt. 1 (Mar. 18, 1980). The Report was authorized by just

   one of the several committees involved in drafting CIPA, it related to a predecessor bill, and it is

   not persuasive with respect to the position of the Special Counsel’s Office in this case. See

   Blanchard v. Bergeron, 489 U.S. 87, 99 (1989) (Scalia, J., concurring) (“[I]t is neither compatible

   with our judicial responsibility of assuring reasoned, consistent, and effective application of the

   statutes of the United States, nor conducive to a genuine effectuation of congressional intent, to



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   give legislative force to each snippet of analysis, and even every case citation, in committee reports

   that are increasingly unreliable evidence of what the voting Members of Congress actually had in

   mind.”).

          In the footnote of the Report that is cited in Campa and Mejia, the Committee distinguished

   between an earlier version of what became CIPA § 6, which was section 103 in the House bill, and

   an earlier version of CIPA § 4, which was section 109(b) in the House bill. See H.R. Rep. No. 96-

   831, pt. 1, at 27 n.22 (Mar. 18, 1980). The footnote’s discussion is problematic because it declared

   that discovery was “not constitutionally required” and could be “completely denied upon a

   sufficient ex parte showing.” Id. This assertion ignored the due process rationale of Brady and its

   progeny and is therefore not a basis to grant the relief sought by the Office. It would not “defeat

   the very purpose of the discovery rules” to grant President Trump’s cleared counsel attorneys’-

   eyes-only access to the Office’s CIPA § 4 submission.

          On September 12, 2023, in response to a question from the Court regarding risks associated

   with allowing Mr. Nauta to access classified discovery, the Office failed to identify any case-

   specific issue and instead contended that the risks were not greater than those presented in United

   States v. Asgari. 9/12/23 Tr. 64. In Asgari, the Sixth Circuit reversed a district court’s decision to

   grant defense counsel access to a CIPA § 4 filing. 940 F.3d 188, 192 (6th Cir. 2019). Similar to

   Mejia, and unlike here, the trial court in Asgari had already determined that the classified

   information was not discoverable. The Court of Appeals in Asgari referred to a “clear rule

   established by § 4,” which, as noted above, the Office has conceded does not exist. Id. The court

   suggested that defense counsel might “make mistakes” with the classified information. Id. But

   that concern would justify withholding all classified information from the defense, which is

   another position that the Office does not defend. See In re Washington Post Co., 807 F.2d 383,



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   391 (4th Cir. 1986) (“[T]roubled as we are by the risk that disclosure of classified information

   could endanger the lives of both Americans and their foreign informants, we are equally troubled

   by the notion that the judiciary should abdicate its decisionmaking responsibility to the executive

   branch whenever national security concerns are present.”). Unlike in this case, Asgari involved

   no classified discovery at all, and the Office has not suggested—nor could it—that cleared counsel

   have been anything but extremely careful about handling restrictions on the classified discovery.

          The Asgari court also claimed that the “text” of CIPA § 4 “vests the district court alone

   with responsibility to make the decision” regarding whether information is relevant. 940 F.3d at

   391. However, while courts make the ultimate decision, as in any motion, they routinely consult

   defense counsel in ex parte settings regarding the relevant-and-helpful standard. Thus, the Court’s

   role as the arbiter of the CIPA § 4 motion is not dispositive on the issue of whether the Office

   should be permitted to file the motion ex parte.

          For all of these reasons, Asgari does not serve as a persuasive basis to deny President

   Trump’s cleared counsel access to the CIPA § 4 motion. Rather, the Office must present a case-

   specific consideration that warrants that measure, and it has not done so.

    IV.   The Government Litigates Classified Issues In Other Settings Without Ex Parte
          Proceedings

          There are several other settings in which the government litigates issues relating to

   classified information without ex parte proceedings. The unnecessary insistence on ex parte

   proceedings by the Special Counsel’s Office must be evaluated in this context.

          First, in FOIA cases, the government often files public declarations from agencies in the

   Intelligence Community seeking to invoke statutory FOIA exceptions relating to national security,

   see 5 U.S.C. §§ 552(b)(1), (3), or Glomar, see Taylor v. NSA, 618 F. App’x 478, 482 (11th Cir.

   2015) (“When a government agency issues a Glomar response, it must provide a public affidavit

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   explaining in as much detail as is possible the basis for its claim that it can be required neither to

   confirm nor deny the existence of the requested records.” (cleaned up)). See Ex. 1.1

          Second, in cases involving habeas petitions and/or the same state secrets privilege at issue

   in a CIPA § 4 motion, the government commonly permits the defendant, and sometimes permits

   the public, to review agency declarations. See United States v. Zubaydah, 595 U.S. 195, 207-08

   (2022) (describing CIA declaration); Al-Hela v. Biden, 66 F.4th 217, 239 (D.C. Cir. 2023)

   (“[P]rocedures whereby neither the person affected by the government’s proposed action, nor his

   counsel, are permitted to view all the government’s evidence during the merits determination are

   rare, and any such procedures raise more serious due process concerns regarding notice and

   opportunity to rebut.”).

          Third, although FISA authorizes ex parte proceedings relating to suppression motions, see

   50 U.S.C. § 1806(f), prosecutors sometimes file public, redacted versions of their briefs and the

   accompanying declarations. See, e.g., Exs. 2, 3.2 Defense counsel are not aware of any reason

   why CIPA § 4 motions should, categorically, be considered more sensitive than the government’s

   opposition to FISA suppression motions.




   1
     Accord Hardy Decl. at 7-12 ¶¶ 17-27, Judicial Watch, Inc. v. DOJ, No. 18-cv-2107 (D.D.C. Oct.
   18, 2019), ECF No. 20-3 (publicly filed declaration explaining FBI’s application of National
   Security Act in FOIA case); Laster Decl. at 7-8, Smith v. NARA, No. 18-cv-2048 (D.D.C. Dec. 20,
   2018), ECF No. 10-2 (publicly filed declaration explaining NARA’s Glomar response in FOIA
   case); Redacted Decl., Doe v. Mattis, No. 17-cv-2069 (D.D.C. Jun. 1, 2018), ECF No. 93-2
   (publicly filed redacted declaration by Defense Department official); Lutz Decl. at 10-15, ACLU
   v. DOJ, No. 10-cv-436 (D.D.C. Nov. 25, 2014), ECF No. 67-2 (publicly filed declaration
   explaining CIA’s application of National Security Act in FOIA case).
   2
     Accord Mem. & Notice of Classified Filing, Al-Baluchi v. Gates, No. 08-cv-2083 (D.D.C. Apr.
   29, 2022), ECF Nos. 228, 229; Mem. & Notice of Classified Filing, United States v. Liu, No. 19-
   cr-804 (S.D.N.Y. Dec. 21, 2020), ECF Nos. 90, 91; Mem. & Decl., United States v. Alimehmeti,
   No. 16-cr-398 (S.D.N.Y. Jul. 24, 2017), ECF Nos. 62, 63; Response & Decl., United States v.
   Hasbajrami, No. 11-cr-623 (E.D.N.Y. Dec. 23, 2014), ECF Nos. 97, 97-1.
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    V.     Ex Parte Proceedings Are Particularly Problematic In Light Of The Prosecution’s
           Track Record

           Ex parte proceedings in this case present more than “an obvious potential for abuse.” In

   re Colony Square, 819 F.2d at 276; see also Mitchell v. Forsyth, 472 U.S. 511, 523 (1985)

   (reasoning that “the label of ‘national security’ may cover a multitude of sins,” and “[t]he danger

   that high federal officials will disregard constitutional rights in their zeal to protect the national

   security is sufficiently real to counsel against affording such officials an absolute immunity”). The

   Special Counsel’s Office has already abused the ex parte process and made other

   misrepresentations that militate against resolving the CIPA § 4 motions on an ex parte basis.

           At the outset of this case, the Special Counsel’s Office misled the Court—

   unapologetically—regarding the status of discovery and its production of witness statements.

   Based on discussion at the sealed hearing, it now appears that writings of one or more witnesses,

   which the Office previously said it would produce “promptly,” may be at issue in the Office’s CIPA

   § 4 motion. See 9/12/23 Tr. 9-11.

           Additionally, more than once, the Office has sought to proceed on the basis of secret filings

   rather than complying with firmly established authorities and Local Rules regarding sealing. See

   ECF No. 41 (“The Government’s Motion does not explain why filing the list with the Court is

   necessary; it does not offer a particularized basis to justify sealing the list from public view; it does

   not explain why partial sealing, redaction, or means other than sealing are unavailable or

   unsatisfactory; and it does not specify the duration of any proposed seal. See S.D. Fla. L.R. 5.4(a),

   (c)(1).”); ECF No. 100 at 1 (“The Special Counsel states in conclusory terms that the supplement

   should be sealed from public view “to comport with grand jury secrecy,” but the motion for leave

   and the supplement plainly fail to satisfy the burden of establishing a sufficient legal or factual

   basis to warrant sealing the motion and supplement.”); ECF No. 228 (reminding the Office that it

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   must submit a motion “to justifying and specifying its request for any limited redactions of docket

   entries 223 and 224 in light of the strong presumption in favor of public access to judicial

   documents”).

          In September 2023, the Special Counsel’s Office submitted a brief making clear that the

   Office takes an impermissibly dim view of all defense arguments. See ECF No. 165. The Office

   claimed, remarkably, that the defendants were “arguably adequately equipped to outline a defense

   theory before receiving any discovery at all” and summarized its view of potential defenses in an

   exceedingly narrow manner that demonstrated that its politically motivated priorities do not

   include fundamental fairness. ECF No. 165 at 4. The Office’s suggestion that discovery is not

   necessary has not aged well in light of the prosecution’s mishandling of that process, and the

   Office’s condescending summary of available defenses overlooked key issues in a manner that

   should concern that Court about its handling of the CIPA § 4 process and other discovery

   obligations.

          For example, we have not been provided with any information regarding the procedures

   the Office has employed in connection with CIPA § 4. Some authority requires prosecutors to

   “invoke the [state secrets] privilege through the ‘head of the department which has control over

   the matter, after actual personal consideration by that officer.’” United States v. Aref, 533 F.3d 72,

   81 (2d Cir. 2008) (quoting United States v. Reynolds, 345 U.S. 1, 8 (1953)).3 While the Attorney

   General sometimes plays that role in connection with a CIPA § 4 motion filed by a local U.S.

   Attorney’s Office, it is not clear that the Attorney General is the appropriate department head in

   this case brought by the Special Counsel. CIPA also places restrictions on who may use its



   3
     Reynolds itself serves as a cautionary tale. There, the government refused to produce a report
   relating to a military crash to victims’ widows on the basis that it could not do so without “seriously
   hampering national security.” 345 U.S. at 5.
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   procedures that could present additional issues, including under the Appointments Clause,

   depending on how the Office proceeds. See CIPA § 14 (“The functions and duties of the Attorney

   General under this Act may be exercised by the Deputy Attorney General, the Associate Attorney

   General, or by an Assistant Attorney General designated by the Attorney General for such purpose

   and may not be delegated to any other official.”). Denying President Trump’s attorneys access to

   the CIPA § 4 filings improperly limits his ability to engage in motion practice on these issues,

   much less present legal and factual defenses on the merits to explain why the CIPA § 4 standard is

   not met here.

          Finally, the recent Ex Parte Motion by the Special Counsel’s Office made plain that the

   Office’s view regarding when and whether materials are “especially sensitive,” ECF No. 223 at 1,

   and therefore may warrant ex parte proceedings, is detached from reality. Just last week, the Office

   contended that a now-public filing with information regarding the “contours” of its CIPA § 4

   motion should be filed ex parte. Now, under CIPA § 4, the Office seeks to persuade the Court, for

   example, that: (1) boilerplate discussion regarding national security equities with no direct

   connection to this case must be shielded from the defense’s view, (2) arguments regarding what is

   helpful to President Trump’s defense require no input from those responsible for presenting that

   defense, and (3) unspecified materials—potentially including witness statements that the Office

   agreed in June to produce “promptly” from witnesses whose other writings have been produced—

   can fairly be withheld from the defendants (or summarized) in connection with a case involving

   over one million pages of discovery.

          “History teaches us how easily the spectre of a threat to ‘national security’ may be used to

   justify a wide variety of repressive government actions.” In re Washington Post Co., 807 F.2d at

   391. Given the history in this case, which also includes the clearances of defense counsel and the



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   sensitivities associated with the classified discovery that has been produced, the Court should not

   allow the Office to proceed in that fashion.

    VI.   Redacted Versions of the CIPA § 4 Submissions Should Be Filed Publicly

          Redacted filings relating to FISA suppression motions illustrate that classified litigation

   does not have to be shielded from the public. See Exs. 2, 3. The Court should therefore review

   any request to seal the entirety of the CIPA § 4 submissions with skepticism, and the Special

   Counsel’s Office should not be permitted to seal unclassified portions of the filing such as

   introductory language, unclassified arguments, background of affiants, or citations to legal

   authority.

          “[T]he value of openness in criminal proceedings extends far beyond just the interests of

   any particular defendant.” United States v. Ignasiak, 667 F.3d 1217, 1238 (11th Cir. 2012). Under

   the First Amendment and at common law, the media and the public have a presumptive right to

   access criminal proceedings. See, e.g., Chi. Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d

   1304, 1310 (11th Cir. 2001). “In addition, ‘the courts of this country recognize a general right to

   inspect and copy public records and documents, including judicial documents and records.’”

   United States v. Sajous, 749 F. App’x 943, 944 (11th Cir. 2018) (quoting Nixon v. Warner

   Commc'ns, 435 U.S. 589, 597 (1978)). “A party may overcome that presumption if it can show an

   overriding interest based on findings that closure is essential to preserve higher values and is

   narrowly tailored to serve that interest.” United States v. Ochoa-Vasquez, 428 F.3d 1015, 1030

   (11th Cir. 2005) (cleaned up).

          Sealing is not an all-or-nothing proposition, and filing redacted versions of sensitive

   materials is often an appropriate way to balance the presumptions of access and the interests of

   one or more parties to a case. See United States v. Vives, 2006 WL 3792096, at *1 (S.D. Fla. 2006)



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   (reasoning that government made a sufficient showing as to “portions” of the document at issue

   and directing the unsealing of a “redacted form” of the document). Accordingly, absent a

   particularized showing, the Special Counsel’s Office should be required to file publicly redacted

   versions of its CIPA § 4 filings that reveal unclassified arguments, paragraphs, and citations to

   authority.

                                            CONCLUSION

          For the foregoing reasons, President Trump respectfully submits that the Court should

   order the Special Counsel’s Office to provide his cleared counsel with attorneys’-eyes-only access

   to all CIPA § 4 submissions, and to file redacted versions of those submissions on the public docket

   so that the public and the press can access the unclassified portions of the documents.

    Dated: December 6, 2023                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I, Christopher M. Kise, certify that on December 6, 2023, I electronically filed the

   foregoing document with the Clerk of Court using CM/ECF.

                                                 /s/ Christopher M. Kise
                                                 Christopher M. Kise
